Case 5:16-cv-10444-JEL-EAS ECF No. 2385, PageID.76890 Filed 03/06/23 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION



     In re Flint Water Cases.                Judith E. Levy
                                             United States District Judge
     ________________________________/

     This Order Relates To:

     ALL CASES

     ________________________________/

  ORDER GRANTING STIPULATION REGARDING RELEASE OF
      CHILD PROTECTIVE SERVICES RECORDS [2377]
         This matter having come before the Court at the February 2, 2023,

 hearing, and the Court being fully advised in the premises,

         It is hereby ORDERED that Michigan Children’s Protective

 Services (CPS) at MDHHS release all records pertaining to the following

 Bellwether III minor plaintiffs:

       Taqaurius Hampton (dob: 7/7/2008)
       Jayden Nolen (dob: 9/7/2011)1

      The records shall be produced in unredacted form and subject to the

 highest protection afforded under the Court’s Confidentiality Orders


 1A sealed and unredacted version of this Order is filed separately on the docket and
 the Court will send the Order to counsel to the stipulating parties. (ECF No. 2377.)
Case 5:16-cv-10444-JEL-EAS ECF No. 2385, PageID.76891 Filed 03/06/23 Page 2 of 2




 (ECF Nos. 299 and 790) as “Highly Confidential – Attorneys’ Eyes Only

 – Restricted Distribution.” The records shall be produced and made

 available by CPS to only Counsel for Defendants and Plaintiffs in the

 Bellwether III cases and shall, at all times, be maintained subject to the

 Court’s confidentiality and protective orders.


    IT IS SO ORDERED.

 Dated: March 6, 2023                      s/Judith E. Levy
 Ann Arbor, Michigan                       JUDITH E. LEVY
                                           United States District Judge

                      CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or first-class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on March 6, 2023.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




                                       2
